         Case 4:08-cr-00352-JLH Document 264 Filed 01/16/14 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:08CR00352-08 JLH

THOMAS PATRICK HUGHES                                                               DEFENDANT

                                              ORDER

       Thomas Patrick Hughes has filed a motion for early termination of his supervised release. The

Court directs the United States to consult with the Probation Office and file a response within

fourteen days from the entry of this Order.

       IT IS SO ORDERED this 16th day of January, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
